         Case 21-03007-sgj Doc 92 Filed 11/09/21       Entered 11/10/21 12:12:21        Page 1 of 1
BTXN 208 (rev. 07/09)
IN RE: Highland Capital Management, L.P.    Movants Motion To Compel, Motion To            Case #
v. HCRE Partners, LLC (n/k/a NexPoint Real Dismiss and Motion To Stay Litigation, doc. 21−03007−sgj
Estate Par                                              #65, #67 & #69
DEBTOR
                                                     TYPE OF HEARING

James Dondero & Nancy Dondero                                 VS
                                                                                      DEFENDANT /
PLAINTIFF / MOVANT                                                                    RESPONDENT


Deborah Deitsch−Perez
ATTORNEY                                                                              ATTORNEY


                                                           EXHIBITS
SEE EXHIBIT LIST

COURT ADMITTED EXHIBIT'S #1 THROUGH
#14




                                                November
Michael Edmond                                                             Stacey G. Jernigan
                                                9, 2021
                                                HEARING
REPORTED BY                                                               JUDGE PRESIDING
                                                DATE
